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        Request for Authorization to bring electronic device(s) into the
        United States District Court for the Eastern District of Virginia

       The following named person(s) is authorized to bring the below described
electronic device(s) into the United States District Court for the Eastern District of
Virginia on the date(s) specified:

        Authorized Person(s):       AUSAs James P. Gillis & John T. Gibbs


                                    Trial Attorney Evan N. Turgeon

                                    Latoya Horsford, Paralegal Specialist

        Electronic Device(s):       Laptop Computer for Trial Director




        Purpose and Location
        Of Use:                     Jury Trial - Courtroom 701

        Case No.:                   1:18-CR-457


        Date(s) Authorized:         July 15, 2019 - August 2, 2019

        IT Clearance Waived:                (Yes)                .(No)

                                    APPROVED BY



Date:
                                                               istrate/Bankruptcy Judge


A copy of this signed authorization must be presented upon entering the courthouse.

IT Clearance:
                              IT Staff Member                                 Date(s)


IT clearance must be completed, unless waived, before court appearance.
